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RBqipient Name           lAddress:     QUIKTRIP RIA Linda Banks, cT C$RP0RATION
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                                                                                        CLERK OF STATE COURT
                                                                                    GWINNETT COUNTY, GEORGIA
                                                                                              21-C-01913-S4
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                                                                                       TIANA P. GARNER, GLERK

                    IN THE STATE COURT OF'GWINNETT COUNTY

                                   STATE OF'GEORGIA

LYNDA DOWELL,                              )
                                           )
       Plaintiff,                          )
                                           )         CIVN ACTION
v.                                         )
                                           )         FrLE NO. 2l-C-01913-S4
QUIKTRIP,                                  )
                                           )
       Defendant.                          )
                                           )

                     pEMAND roR r\v,pLvp'ME\LBER JUBy rRrAL

        COMES NOW De:fundant QUIKTRIP CORPORATION, appearing specially without

submitting to the jurisdiction and venue of this Court, and demands a trial by a twelve-member

jury in the above styled action.

                                           Respectfully submitted,

                                           DOWNEY & CLEVELAND, LLP




                                           By:       /#,   L..I
                                                           ean   y s-
                                                     SNAN L. HYNES
                                                     Georgia State Bar No. 381698
                                                     hynes@downeycleveland' com
                                                     Aftorney s f<lr l)efendant

Downey & Cleveland, LLP
288 Washinglon Avenue
Marietta, GA 30060-1979
T:770-422-3233
F:77A-423-4199




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       Case 1:21-cv-01489-CAP Document 1-2 Filed 04/14/21 Page 3 of 6




                                   cERrIrtcATIL .9r' SSRYTCS

       This is to certiff that I have this day served the following counsel of record with a true and

correct copy of the foregoing pleading via electronic service andlclr by depositing said copy in the

United States Mail, with sufficient postage affixed thereorl and properly addressed to the

following:

       Keith R. Foster, Esq.
       The Foster Firm LLC
       One Crown Center
       1895 Phoenix Bivd., Ste. 110
       Atlantq Ga 30349

       This   13th day   of ApriI,zA2L.

                                              DOWNEY & CLEVELAND, LLP




                                              By;     /s1*9"an L. Hynes-..
                                                      SEAN L.IIYNES
                                                      Georgia State Bar No. 381698
         Case 1:21-cv-01489-CAP Document 1-2 Filed 04/14/21 Page 4 of 6                        E-FILED IN OFFICE - JM
                                                                                             CLERK OF STATE COURT
                                                                                         GWINNETT COUNTY, GEORGIA
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                                                                                             TIANA P. GARNER, CLERK

                         IN THE STATE COURT OF GWINNETT COUN:I'Y

                                       STATE OF GEORGIA

LYNDA DOV/ELL,                                  )
                                                )
          Plaintiff,                            )
                                                )         CryIL ACTION
v,                                              )
                                                )         FrLE N0. 21-C-01913-S4
QUIKIRIP,                                       )
                                                )
          Defendant.                            )
                                                )

                       RULq,5:"? ,CEI{TIFIC{T,E OF SERYIqS Or DI$COVEI{Y

          Pursuant to Uniform State Courl Rule 5.2, the undersigned hereby certities that on the date

showno Defbndant         QUIKTRIP CORPORATION, appearing specially ancl without submitting to

the   jurisdiction and venue of this Coutl, served copies of the following pleadings:

          1.       Defendant's First continuing Interrogatories to Plaintiff;
          Z.       Defendart's First Request for Production of Doouments to Plaintiffl and
          3.       Defendant's First Request lor Admissions to Plaintiff.

by depositing same in the United States Mail, properly addressed and with suflicient postage

affixed thereon, to the following counsel of record:

          Keith R. Foster, Esq.
          The Foster Firm LLC
          One Crown Center
          1895 Phoenix Blvd., Ste. 110
          Atlanta, Ga 30349

          This l3tl'day of April,2{121.




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     Case 1:21-cv-01489-CAP Document 1-2 Filed 04/14/21 Page 5 of 6




                                 Respectful   ly submitted,

                                 DOWNEY & CLEVELAND, LLP




                                 Byl     ls/,Sepn   I,.
                                         SEAN L. HYNES
                                         Georgia State Bar No. 381698
                                         hynes(@downeycleveland.com
                                         Attomeys for Defendant

Downey & Cleveland, LLP
288 Washington Avenue
Mariettq GA 30060-1979
T:770-422-3233
F:'170-423-4199




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       Case 1:21-cv-01489-CAP Document 1-2 Filed 04/14/21 Page 6 of 6




                                CEBIIrICAT& 0r' $EnYIcE
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corect copy of the foregoing pleading via electronic service and/or by depositing said copy in the

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follbwing:

       Keith R. Foster, Esq.
       The Foster Firm LLC
       One Crown Center
       1895 Phoenix Blvd., Ste. I l0
       Atlanta, Ga 30349

       This 13s day of   April,z}zl.
                                              DOWIIEY & CLEVELAhID' LLP




                                              By: Ji$lr$ean L" F,ly-nes...
                                                     SEAN L. HYNES
                                                     Oeorgia State Bar No. 381698




                                                -J-
